      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.263 Page 1 of 8




                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


    UNITED STATES OF AMERICA,                               MEMORANDUM DECISION AND
                                                            ORDER DENYING MOTION FOR
                              Plaintiff,                    COMPASSIONATE RELEASE

    v.
                                                            Case No. 1:15-cr-00010-DN
    AARON ELLIOTT,
                                                            District Judge David Nuffer
                              Defendant.


           Defendant filed a motion seeking compassionate release. 1 The government and the

United States Probation Office oppose Defendant’s Motion. 2 While Defendant has serious health

conditions that make this motion closer than most, he fails to demonstrate that his circumstances

constitute extraordinary and compelling reasons to justify compassionate release. Therefore,

Defendant’s Motion 3 is DENIED.

                                                 DISCUSSION

                                 Defendant’s Motion is procedurally proper

           “The First Step Act . . . modified 18 U.S.C. § 3582(c) to allow a defendant federal

prisoner to file [a] motion [for compassionate release or a sentence modification] with the court

him or herself.” 4 However, to file such a motion, a defendant must have “fully exhausted all



1
    Motion for Compassionate Release (“Motion”), docket no. 59, filed Aug. 28, 2020.
2
 United States’ Response in Opposition to Defendant’s Emergency Motion for Compassionate Release and
Reduction of Sentence Under 18 U.S.C. § 3582(c)(1)(A)(i) (“Response”), docket no. 62, filed under seal September
22, 2020; First Step Act Relief Recommendation (“Recommendation”), docket no. 64, filed under seal October 2,
2020.
3
    Docket no. 59, filed Aug. 28, 2020.
4
 United States v. Williams, No. 2:17-cr-00417-DAK, 2020 WL 806026, *1 (D. Utah Feb. 18, 2020) (citing 18
U.S.C. § 3582(c)(1)(A); United States v. Willis, 382 F.Supp.3d 1185, 1187 (D. N.M. 2019)).
      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.264 Page 2 of 8




administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of the

defendant’s facility, whichever is earlier.” 5 If one of these requirements is satisfied, “a court may

reduce a defendant’s sentence if it finds that ‘extraordinary and compelling reasons warrant such

a reduction,’ and that such reasons ‘could not reasonably have been foreseen by the court at the

time of sentencing.’” 6 In making this determination, the court must also consider the factors set

forth in 18 U.S.C. § 3553(a) to the extent they are applicable. 7

            Defendant submitted a request for relief under the First Step Act to the Warden at

Springfield MCFP in May 2020. 8 The Warden denied Defendant’s request on May 20, 2020. 9

And on August 28, 2020, Defendant filed his Motion. Therefore, the Motion is procedurally

proper and its merits may be addressed. 10

                   Defendant fails to demonstrate that his circumstances constitute
                extraordinary and compelling reasons to justify compassionate release

            Defendant argues that because his medical conditions place him in the high risk category

of suffering serious complications or death if he contracts COVID-19, extraordinary and

compelling reasons exist to warrant compassionate release. 11 Defendant is 49 years old and has

served over 75% of his 72-month prison sentence. 12 He asserts that he suffers from diabetes,




5
    18 U.S.C. § 3582(c)(1)(A) (emphasis added).
6
    Williams, 2020 WL 806026, *1 (quoting 18 U.S.C. § 3582(c)(1)(A)(i); 28 C.F.R. § 571.60).
7
    18 U.S.C. § 3582(c)(1).
8
    Reduction in Sentence Application at 1-2, docket no. 59-1, filed Aug. 28, 2020.
9
    Id. at 3.
10
     18 U.S.C. § 3582(c)(1)(A).
11
     Motion at 1, 8-12.
12
     Recommendation.



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      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.265 Page 3 of 8




hypertension, obesity, and end-stage kidney disease, which requires dialysis. 13 Defendant has

had no disciplinary history since being in Bureau of Prisons (“BOP”) custody, 14 and he asserts

that he is a model inmate and in the low risk category for reoffending. 15 And if granted relief,

Defendant will reside with his brother in La Puente, California. 16

            The phrase “extraordinary and compelling reasons” is not defined in the statute.

However, the United States Sentencing Commission (“USSC”) has defined the phrase “to

include serious medical conditions and the age of the defendant.” 17 The USSC policy statement

is not binding for purposes of Defendant’s Motion. 18 But it does provide helpful considerations

for determining whether Defendant’s circumstances constitute extraordinary and compelling

reasons to warrant relief. Specifically, the policy statement provides that “extraordinary and

compelling reasons” exist for medical conditions when:

                     (i) the defendant is suffering from a terminal illness (i.e., a serious and
                     advanced illness with an end of life trajectory). A specific prognosis of life
                     expectancy (i.e., a probability of death within a specific time period) is not
                     required. Examples include metastatic solid-tumor cancer, amyotrophic
                     lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

                     (ii) the defendant is (a) suffering from a serious physical or medical
                     condition, (b) suffering from a serious functional or cognitive impairment,
                     or (c) experiencing deteriorating physical or mental health because of the
                     aging process, that substantially diminishes the ability of the defendant to
                     provide self-care within the environment of a correctional facility and
                     from which he or she is not expected to recover. 19


13
   Motion at 8; Bureau of Prisons Health Services Health Problems (“BOP Medical Records”), docket no. 59-2, filed
Aug. 28, 2020.
14
     Report ¶ 14 at 4.
15
     Motion at 10.
16
     Id. at 12.
17
  Williams, 2020 WL 806026, *1 (quoting United States v. Gutierrez, No. CR 05-0217 RB, 2019 WL 2422601, *2
(D. N.M. June 10, 2019)).
18
     United States v. Maumau, No, 2:08-cr-00758-TC-11, 2020 WL 806121, *4 (D. Utah Feb. 18, 2020).
19
     U.S.S.G. 1B1.13 at Commentary Application Notes 1(A).



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      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.266 Page 4 of 8




“Extraordinary and compelling reasons” exist for a defendant’s age when the defendant:

                    (i) is at least 65 years old; (ii) is experiencing a serious deterioration in
                    physical or mental health because of the aging process; and (iii) has served
                    at least 10 years or 75 percent of his or her term of imprisonment,
                    whichever is less. 20

“Extraordinary and compelling reasons” also include circumstances where “there exists in the

defendant’s case an extraordinary and compelling reason other than, or in combination with,” the

defendant’s medical conditions and age. 21

            Defendant has demonstrated that his medical conditions constitute “extraordinary and

compelling reasons” under the USSC policy statement. Defendant has several infirmities,

including an end-stage organ disease. 22 These conditions also place Defendant in the high risk

category of suffering serious complications or death if he contracts COVID-19. 23 Nevertheless,

Defendant’s medical conditions does not justify granting him compassionate release.

            Defendant’s medical conditions were known at the time of his sentencing. He was

diagnosed with end-state chronic kidney disease in October 2011, approximately 15 months

before committing the underlying criminal offense in this case. 24 And his original Presentence

Investigation Report noted that he was also suffering from diabetes and hypertension. 25

Defendant is incarcerated in a BOP medical facility that specializes in housing prisoners that




20
     Id. at Commentary Application Notes 1(B).
21
  Id. at Commentary Application Notes 1(D). Certain family circumstances may also constitute “extraordinary and
compelling reasons” to warrant relief. Id. at Commentary Application Notes 1(C). But such family circumstances
are not applicable in this case.
22
     Motion at 8; BOP Medical Records.
23
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
visited Oct. 2, 2020).
24
     Presentence Investigation Report (“PSR”) ¶¶ 5-8, 40, docket no. 61-1, filed Sept. 9, 2020.
25
     Id. ¶ 40.



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      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.267 Page 5 of 8




require long-term medical and mental health care. 26 And his prison medical records indicate that

he is receiving medical attention, treatment, and medication for his conditions. 27

            Defendant also fails to meet extraordinary and compelling reasons to warrant relief based

on his age. Despite having medical conditions that rise to the level or serious deterioration in

physical health and serving over 75 percent of his prison term, Defendant is only 49 years old. 28

            Additionally, the combination of Defendant’s medical conditions and age, and the current

COVID-19 pandemic do not constitute extraordinary and compelling reasons to warrant relief.

Defendant’s medical conditions put him in the high-risk category for serious complications or

death if he contracts COVID-19. 29 But there is only the potential that Defendant may contract

COVID-19 while in BOP custody. That potential still exists if Defendant is granted

compassionate release.

            Defendant does not assert that the specific conditions of his incarceration at Springfield

MCFP put him at risk of contracting COVID-19. Defendant also acknowledges that the BOP has

implemented substantial restrictions on inmates and prison staff to limit personal interactions and

curb the spread of COVID-19. 30 These restrictions include canceling all programs, classes, and

counseling for inmates. 31 Indeed, the BOP has implemented stringent protocols in order to stop

any spread of COVID-19 to inmates and staff. These protocols include:




26
     Recommendation.
27
     BOP Medical Records.
28
     Id.; Motion at 8; Recommendation.
29
  Motion at 8; BOP Medical Records; https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
with-medical-conditions.html (last visited Oct. 2, 2020).
30
     Motion at 5-7, 11.
31
     Id. at 11.



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      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.268 Page 6 of 8




           •    All inmates in every institution are secured in their assigned cells for a period of at
                least 14 days;

           •    Only limited group gathering is permitted to facilitate commissary, laundry, showers,
                telephone, and computer access;

           •    All staff and inmates have been and will continue to be issued face masks and
                encouraged to wear an appropriate face covering when in public areas when social
                distancing cannot be achieved;

           •    All newly admitted inmates are screened for COVID-19 exposure and symptoms;

           •    Asymptomatic inmates with risk of exposure are placed in quarantine for a minimum
                of 14 days or until cleared by medical staff;

           •    Symptomatic inmates are placed in isolation until they test negative for COVID-10 or
                are cleared by medical staff as meeting CDC criteria for release from isolation;

           •    Prison staff are temperature checked before entering the facilities, and any staff
                member with a temperature of 100.4 degrees Fahrenheit or higher is barred from the
                facility;

           •    Staff members having a stuffy or runny nose may be placed on leave by a medical
                officer;

           •    Official travel for prison staff, and most training, has been cancelled;

           •    Social and legal visits at facilities have been suspended since March 13, 2020; and

           •    Expanded COVID-19 testing for inmates. 32

           Springfield MCFP has not avoided the COVID-19 pandemic. 33 However, there are

currently nine staff and no inmate confirmed active COVID-19 cases. 34 On the other hand, La

Puente, California (where Defendant plans to reside if granted compassionate release) has 1,534

confirmed COVID-19 cases, as case rate of 3,769 per 100,000 residence. 35 Defendant may be

able to exercise more personal control over following CDC guidelines and recommendations if


32
     https://www.bop.gov/coronavirus (last visited Oct. 2, 2020).
33
     Motion at 8; Recommendation.
34
     https://www.bop.gov/coronavirus (last visited Oct. 2, 2020).
35
     http://publichealth.lacounty.gov/media/coronavirus/locations.htm (last visited Oct. 2, 2020).



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      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.269 Page 7 of 8




released. But Defendant acknowledges “[t]here is a good chance that [he] will remain safe if [his

M]otion is denied.” 36 On this record, Defendant has not shown that he is more likely to contract

COVID-19 in custody than if released. Therefore, Defendant fails to demonstrate that the

combination of his medical condition and age, and the current COVID-19 pandemic constitute

extraordinary and compelling reasons to warrant relief.

            Finally, the relevant factors set forth in 18 U.S.C. § 3553(a) do not support granting

Defendant compassionate release. Defendant was convicted of one count of Human Trafficking

of Children, in violation of 18 U.S.C. § 1591. 37 He has a criminal history category of III and

misdemeanor convictions for assault and for offenses against a minor. 38 Additionally, the offense

conduct in this case included trafficking underage prostitutes. 39 The offense carries a 10-year

minimum mandatory sentence, 40 and Defendant’s guideline range of imprisonment was 135 to

168 months. 41 Pursuant to his plea agreement, Defendant was sentenced to 72 months, 42 which is

substantially less than the minimum mandatory and the low end of Defendant’s guideline

range. 43 Defendant was also sentenced to a 60-month term of supervised release. 44

            The serious nature and circumstances of Defendant’s offense (which involved child

victims), the appropriateness of the original 72-month prison sentence, and the need to protect

the public from further crimes weigh heavily against granting relief to Defendant. Defendant also


36
     Reply in Support of Motion for Compassionate Release (“Reply”) at 4, docket no. 63, filed Sept. 25, 2020.
37
     Amended Judgment in a Criminal Case (“Judgment”) at 1, docket no. 53, filed May 7, 2020.
38
     PSR ¶¶ 27-28, 32.
39
     Id. ¶¶ 5-8.
40
     18 U.S.C. § 1591(b)(2).
41
     PSR ¶ 49.
42
     Id. ¶ 50; Judgment at 2.
43
     PSR ¶ 96.
44
     Judgment at 3.



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      Case 1:15-cr-00010-DN Document 65 Filed 10/06/20 PageID.270 Page 8 of 8




has an alternative avenue of seeking relief because he is now eligible to make request to the BOP

for a designation of home confinement. 45 Therefore, Defendant has not demonstrated that his

circumstances constitute extraordinary and compelling reasons to justify compassionate release.

                                            ORDER

           THEREFORE, IT IS HEREBY ORDERED that Defendant’s Motion 46 is DENIED.

           Signed October 5, 2020.

                                            BY THE COURT


                                            ________________________________________
                                            David Nuffer
                                            United States District Judge




45
     Motion at 11; Recommendation.
46
     Docket no. 59, filed Aug. 28, 2020.



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